DAVID RODEFER OIL CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.David Rodefer Oil Co. v. CommissionerDocket No. 10184.United States Board of Tax Appeals11 B.T.A. 782; 1928 BTA LEXIS 3727; April 23, 1928, Promulgated *3727  1.  The petitioner's inventories of oil at the beginning and close of the fiscal year ended May 31, 1917, determined both for the basis of computing net income and invested capital.  2.  The assessment of an additional tax for the fiscal year ended May 21, 1917, made on January 15, 1925, within the statutory period extended by a valid consent filed by the petitioner on January 16, 1924, was not barred by the statute of limitations and the respondent has six years from the date of the assessment within which to collect same.  Allen H. Gardner, Esq., for the petitioner.  Benton Baker, Esq., for the respondent.  SMITH*782  This is a proceeding for the redetermination of a deficiency in income and profits tax for the fiscal year ended May 31, 1917, in the amount of $2,536.21.  The issues presented are: (1) Correct inventories at the beginning and close of the fiscal year for the purpose of determining net income and invested capital; and (2) whether the collection of an assessment of the deficiency made on January 15, 1925, is barred by the statute of limitations.  FINDINGS OF FACT.  The petitioner is an Ohio corporation and is engaged in the*3728  business of producing oil.  It operates as a lessee.  In filing its income-tax returns for the years 1909 to 1920, inclusive, the petitioner has consistently valued its inventory at market value regardless of cost.  In its return for the fiscal year ended Mary 31, 1917, it used an inventory at the beginning of the year of $15,080 and at the close of the year of *783  $2,971.43.  These amounts represented the market value of oil on hand at the beginning of the year and the approximate cost of production of the oil on hand at the close of the year.  At the beginning of the year it had on hand 5,799.55 barrels of oil, the production cost of which was $10,242.16, and at the close of the year 1,548.34 barrels, the production cost of which was $2,903.91.  The petitioner filed its income and profits-tax return for the fiscal year ended May 31, 1917, on May 31, 1918.  On January 27, 1921, the petitioner executed a consent waiving the statutory limitation on assessments for the year in question.  On January 16, 1924, the petitioner executed a consent for assessment and collection of the income and profits tax for the year in question, said consent to be effective for one year from the*3729  date of signing by the petitioner.  On January 15, 1925, the Commissioner made an additional assessment for the fiscal year ended May 31, 1917, of $2,706.58.  On March 15, 1925, the petitioner filed a claim for the abatement of $2,598.64 of the additional tax assessed on January 15, 1925.  The respondent on October 23, 1925, determined the correct amount of the deficiency to be $2,536.21, which was a portion of the tax assessed on January 15, 1925.  No portion of the alleged deficiency of $2,536.21 had been paid by the petitioner.  OPINION.  SMITH: The petitioner claims the right to have its net income for the fiscal year ended May 31, 1917, determined upon the basis of inventories of oil on hand at the beginning and close of the year, taken on the basis of market value regardless of cost.  In , the Circuit Court of Appeals for the Fifth Circuit held that a taxpayer could not value his inventory at market if higher than cost regardless of custom for the years 1917, 1918, and 1919.  Writ of certiorari was denied by the United States Supreme Court, *3730 . To the same effect see . The petitioner's net income and invested capital for the taxable year under review should be determined upon the basis of inventories based on cost which are found to be $10,242.16 as of June 1, 1916, and $2,903.91 as of May 31, 1917.  The petitioner claims that the collection of the deficiency determined by the Commissioner for the fiscal year ended May 31, 1917, is barred by the statute of limitations.  The facts in this case are parallel to those considered by the Board in . In accordance therewith the deficiency assessment is collectible. Judgment will be entered on 15 days' notice, under Rule 50.